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                          IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION
In re:                                               CASE NO. 8:19-BK-06187-CPM
                                                     CHAPTER 7
DOMINIK SZARGUT,

         Debtors.
                                              /

                        MOTION FOR RELIEF FROM AUTOMATIC STAY

           NOTICE OF OPPORTUNITY TO OBJECT AND REQUEST FOR HEARING

Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper without
further notice or hearing unless a party in interest files a response within 21 days from the date
set forth on the attached proof of service, plus an additional three days for service if any party
was served by U.S. Mail.

If you object to the relief requested in this paper, you must file a response with the Clerk of the
Court at 801 N. Florida Avenue, Suite 555, Tampa, FL 33602 and serve a copy on the movant’s
attorney, Howard Law Group, 450 N. Park Road, Suite 800, Hollywood, FL 33021, and any other
appropriate persons within the time allowed. If you file and serve a response within the time
permitted, the Court will either schedule and notify you of a hearing or consider the response and
grant or deny the relief requested without a hearing.

If you do not file a response within the time permitted, the Court will consider that you do not
oppose the relief requested in the paper, will proceed to consider the paper without further notice
or hearing, and may grant the relief requested.

         VRMTG ASSET TRUST ("Movant") hereby moves this Court, pursuant to 11 U.S.C. § 362, for

relief from the automatic stay with respect to certain real property of the Debtor(s) having an address of

1011 58th Avenue North, St. Petersburg, FL 33703 (the "Property"). The facts and circumstances

supporting this Motion are set forth in the Affidavit in Support of Motion for Relief from Automatic

Stay attached hereto as Exhibit E (the "Affidavit").       In further support of this Motion, Movant

respectfully states:

1.       A petition under Chapter 7 of the United States Bankruptcy Code was filed with respect to the

Debtor(s) on June 28, 2019.

2.       The Debtor(s) has/have executed and delivered or is/are otherwise obligated with respect to that
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certain promissory note in the original principal amount of $135,000.00 (the "Note"). A true and

correct copy of the Note is attached hereto as Exhibit A. Movant is an entity entitled to enforce the

Note.

3.      Pursuant to that certain Mortgage (the "Mortgage"), all obligations (collectively, the

"Obligations") of the Debtor(s) under and with respect to the Note and the Mortgage are secured by the

Property. A true and correct copy of the Mortgage is attached hereto as Exhibit B.

4.      All rights and remedies under the Mortgage have been assigned to the Movant pursuant to that

certain assignment of mortgage, a true and correct copy of which is attached hereto as Exhibit C.

5.      The legal description of the Property is

        THE WEST 59 FEET OF LOT 2, AND THE EAST 1 FOOT OF LOT 3, BLOCK F, SALINAS
        EUCLID PARK, ACCORDING TO THE MAP OR PLAT THEREOF AS RECORDED IN
        PLAT BOOK 31, PAGE 37 OF THE PUBLIC RECORDS OF PINELLAS COUNTY,
        FLORIDA.

6.      The Property has been surrendered by the Debtor.

7.      As of the petition date, the outstanding unpaid principal balance under the Note was

120,187.26, and the Debtor has defaulted under the terms of the Note and Mortgage by failing to make

the payment due on May 1, 2016.

8.      In addition to the other amounts due to Movant reflected in this Motion, as of the date hereof, in

connection with seeking the relief requested in this Motion, Movant has also incurred $750.00 in legal

fees and $181.00 in costs.

9.      The estimated market value of the Property is $140,789.00. The basis for such valuation is

Pinellas County Property Appraiser. A copy of the valuation is attached hereto as Exhibit D.

10.     Upon information and belief, the aggregate amount of encumbrances on the Property listed in

the Schedules or otherwise known, including but not limited to the encumbrances granted to Movant, is

$204,939.01.

11.     Secured Creditor requests that all communications sent by Secured Creditor in connection with
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proceeding against the property including, but not limited to, notices required by state law and

communications to offer and provide information with regard to a potential Forbearance

Agreement, Loan Modification, Refinance Agreement, Loss Mitigation Agreement, or other Loan

Workout, may be sent directly to Debtor.

12.    Cause exists for relief from the automatic stay for the following reasons:

       (a)     Movant`s interest in the Property is not adequately protected.

       (b)     Pursuant to 11 U.S.C. § 362(d)(2)(A), Debtor(s) has/have no equity in the Property.

13.    Pursuant to 11 U.S.C. § 362(e), Movant requests that in the event a hearing is necessary, said

hearing be held within thirty (30) days.

       WHEREFORE, Movant prays that this Court issue an Order terminating or modifying the stay

and granting the following:

1.     Relief from the stay allowing Movant (and any successors or assigns) to proceed under

applicable non-bankruptcy law to enforce its remedies to foreclose upon and obtain possession of the

Property.

2.     That the Order be binding and effective despite any conversion of this bankruptcy case to a case

under any other chapter of Title 11 of the United States Code.

3.     That the 14-day stay of the relief order pursuant to FRBP 4001 be waived.

4.     For such other relief as the Court deems proper.
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       I HEREBY CERTIFY that on August 20, 2019, I electronically filed the foregoing with the

Clerk of Court by using the CM/ECF System, which will send a notice of electronic filing to all

CM/ECF participants:

Stephany P. Sanchez, Esq., PO Box 40008, St. Petersburg, FL 33743

Carolyn R. Chaney, Trustee, PO Box 530248, St. Petersburg, FL 33747

United States Trustee, Timberlake Annex, Suite 1200, 501 E. Polk Street, Tampa, FL 33602

And a true and correct copy will be mailed to the non-CM/ECF participant:

Dominik Szargut, 1011 58th Avenue North, Saint Petersburg, FL 33703




                                                       Respectfully submitted,
                                                       MILLENNIUM PARTNERS

                                                        /s/ Matthew Klein
                                                       MATTHEW B KLEIN
                                                       FLORIDA BAR#: 73529
                                                       MILLENNIUM PARTNERS
                                                       21500 Biscayne Blvd., Ste. 600
                                                       Aventura, FL 33180
                                                       Telephone: 305-698-5839
                                                       Fax: 305-698-5840
                                                       Email: bankruptcy@millenniumpartners.net
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                                 EXHIBIT B
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       COMPOSITE EXHIBIT C
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Property Appraiser General Information                                                                                             https://www.pcpao.org/general.php?strap=163036785880060020
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                                                                                            36-30-16-78588-006-0020
                                                                                               Compact Property Record Card



          Tax Estimator                                                               Updated July 6, 2019                                  Email Print                  Radius Search                      FEMA/WLM


                             Ownership/Mailing Address Change Mailing Address                                                                  Site Address
                                          SZARGUT, DOMINIK
                                                                                                                                            1011 58TH AVE N
                                             1011 58TH AVE N
                                                                                                                                            ST PETERSBURG
                                     ST PETERSBURG FL 33703-1121

          Property Use: 0110 (Single Family Home)                                                                           Total Living: SF: 896           Total Gross SF: 938               Total Living Units:1
                                                                                       [click here to hide] Legal Description
                                                                       SALINAS EUCLID PARK SUB BLK F, W 59FT OF LOT 2 & E 1FT OF LOT 3

                                     Tax Estimator        File for Homestead Exemption                                                                       2019 Parcel Use
                       Exemption                           2019                              2020
                       Homestead:                           Yes                               Yes                   *Assuming no ownership changes before Jan. 1
                      Government:                           No                                No                    Homestead Use Percentage: 100.00%
                      Institutional:                        No                                No                    Non-Homestead Use Percentage: 0.00%
                        Historic:                           No                                No                    Classified Agricultural: No

                                                                       Parcel Information Latest Notice of Proposed Property Taxes (TRIM Notice)
                                                                                                          Evacuation Zone                                       Flood Zone
             Most Recent Recording               Sales Comparison            Census Tract                                                                                                               Plat Book/Page
                                                                                                (NOT the same as a FEMA Flood Zone)                 (NOT the same as your evacuation zone)
                    14226/2567                  $163,900 Sales Query      121030243013                              B                       Compare Preliminary to Current FEMA Maps                          31/37
                                                                                           2019 Preliminary Value Information
            Year                            Just/Market Value           Assessed Value / SOH Cap             County Taxable Value                     School Taxable Value               Municipal Taxable Value
             2019                                       $140,789                               $64,106                        $25,000                                  $39,106                                $25,000

                                                                    [click here to hide] Value History as Certified (yellow indicates correction on file)
           Year           Homestead Exemption              Just/Market Value           Assessed Value               County Taxable Value              School Taxable Value                   Municipal Taxable Value
            2018                  Yes                                  $120,147                  $62,911                             $25,000                           $37,911                                    $25,000
            2017                  Yes                                  $106,883                  $61,617                             $25,000                           $36,617                                    $25,000
            2016                  Yes                                   $89,463                  $60,350                             $25,000                           $35,350                                    $25,000
            2015                  Yes                                   $74,938                  $59,930                             $25,000                           $34,930                                    $25,000
            2014                  Yes                                   $60,763                  $59,454                             $25,000                           $34,454                                    $25,000
            2013                  Yes                                   $58,575                  $58,575                             $25,000                           $33,575                                    $25,000
            2012                  Yes                                   $62,082                  $62,082                             $25,000                           $37,082                                    $25,000
            2011                  Yes                                   $64,571                  $64,571                             $25,000                           $39,571                                    $25,000
            2010                  Yes                                   $66,939                  $66,939                             $25,000                           $41,939                                    $25,000
            2009                  Yes                                   $82,181                  $82,181                             $32,181                           $57,181                                    $32,181
            2008                  Yes                                  $110,200                 $110,200                             $60,200                           $85,200                                    $60,200
            2007                  Yes                                  $115,300                 $115,300                             $90,300                               N/A                                    $90,300
            2006                  Yes                                  $112,700                 $112,700                             $87,700                               N/A                                    $87,700
            2005                  No                                    $87,900                  $87,900                             $87,900                               N/A                                    $87,900
            2004                  No                                    $75,000                  $75,000                             $75,000                               N/A                                    $75,000
            2003                  No                                    $63,800                  $63,800                             $63,800                               N/A                                    $63,800
            2002                  No                                    $54,700                  $54,700                             $54,700                               N/A                                    $54,700
            2001                  No                                    $52,400                  $52,400                             $52,400                               N/A                                    $52,400
            2000                  Yes                                   $48,000                  $48,000                             $23,000                               N/A                                    $23,000
            1999                  Yes                                   $47,300                  $47,300                             $22,300                               N/A                                    $22,300
            1998                  No                                    $43,100                  $43,100                             $43,100                               N/A                                    $43,100
            1997                  No                                    $41,600                  $41,600                             $41,600                               N/A                                    $41,600
            1996                  No                                    $39,200                  $39,200                             $39,200                               N/A                                    $39,200
                                                   2018 Tax Information                                                                Ranked Sales (What are Ranked Sales?) See all transactions
         2018 Tax Bill                                                              Tax District: SP                      Sale Date                   Book/Page                          Price              Q/U       V/I
                                                                                                                         06 Apr 2005               14226 / 2567                            $135,000          Q         I
         2018 Final Millage Rate                                                                          21.7154
                                                                                                                         07 Dec 2000               11147 / 0639                              $63,000         Q         I
         Do not rely on current taxes as an estimate following a change in ownership. A significant change               06 Mar 1998               10015 / 0801                              $52,500         Q         I
         in taxable value may occur after a transfer due to a loss of exemptions, reset of the Save Our                  31 Aug 1993               08387 / 1584                              $28,200         U         I
         Homes or 10% Cap, and/or market conditions. Please use our new Tax Estimator to estimate taxes                  24 Apr 1991               07551 / 0631                              $38,400         Q         I
         under new ownership.
                                                                                                                         14 Mar 1990               07223 / 0551                              $35,400         Q         I

                                                                                                       2019 Land Information
                                          Seawall: No                                                      Frontage: None                                                           View:
                          Land Use                        Land Size                     Unit Value              Units            Total Adjustments                                   Adjusted Value          Method
                      Single Family (01)                   60x133                         1590.00             60.0000                  0.9797                                               $93,463           FF

                                                                       [click here to hide] 2019 Building 1 Structural Elements Back to Top
                                                                                                Site Address: 1011 58TH AVE N




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Property Appraiser General Information                                                                                       https://www.pcpao.org/general.php?strap=163036785880060020
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         Building Type: Single Family
         Quality: Average
         Foundation: Continuous Footing
         Floor System: Slab On Grade
         Exterior Wall: Cb Stucco/Cb Reclad                                          Building 1 Sub Area Information
         Roof Frame: Flat Description
                            Shed                                                                          Living Area SF                                                                       Gross Area SF
         Utility Unfinished
         Roof Cover:  Bu Tar & Gravel Alt                                                                                0                                                                                  42
         Base                                                                                                          896                                                                                 896
         Stories: 1                                                                                                                                                     Compact Property Record Card
                                                                                                      Total Living SF: 896                                                                 Total Gross SF: 938
         Living units: 1
                                                                                 [click here to hide] 2019 Extra Features
         Floor Finish: Carpet/Hardtile/Hardwood
                       Description                     Value/Unit            Units                                          Total Value as New                                        Depreciated Value         Year
         Interior Finish: Drywall/Plaster
                     PATIO/DECK                                     $0.00    1.00                                                         $0.00                                                   $0.00         1980
         Fixtures: 3
                                                                                          [click here to hide] Permit Data
         Year Built: 1953
                         Permit information is received from the County and Cities. This data may be incomplete and may exclude permits that do
         Effective Age: 31 not result in field reviews (for example for water heater replacement permits). We are required to list all improvements,
         Heating: Central Duct which may include unpermitted construction. Any questions regarding permits, or the status of non-permitted
                                       improvements, should be directed to the permitting jurisdiction in which the structure is located.
         Cooling: Cooling (Central)                          Open plot in New Window
                          Permit Number                                    Description                                    Issue Date                                            Estimated Value
                            16-11001591                                      ROOF                                        30 Nov 2016                                                                                 $3,990


              +
              –




                                                                                                                 Use of this PARCEL MAP is subject to terms of use at: http://www.pcpao.org/Terms_of_Use.html

         Interactive Map of this parcel   Map Legend                        Sales Query          Back to Query Results                 New Search           Tax Collector Home Page                     Contact Us




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